Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 1 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 2 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 3 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 4 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 5 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 6 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 7 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 8 of 28
Case 18-82075-CRJ11   Doc 37     Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                               Document      Page 9 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 10 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 11 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 12 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 13 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 14 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 15 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 16 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 17 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 18 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 19 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 20 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 21 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 22 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 23 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 24 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 25 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 26 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 27 of 28
Case 18-82075-CRJ11   Doc 37 Filed 09/19/18 Entered 09/19/18 09:48:43   Desc Main
                            Document    Page 28 of 28
